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                          UNITED STATES DISTRICT COURT
                           for the District of New Jersey [LIVE]
                                        Camden, NJ


 THE UNITED STATES OF
 AMERICA
                                         Plaintiff,
 v.                                                   Case No.:
                                                      1:20−cv−02448−RBK−KMW

 MICHAEL C. DUNN
                                         Defendant.




               Notice Of Call For Dismissal Pursuant to Fed.R.Civ.P. 4(m)

     Please take notice that the above−captioned action will be dismissed on 12/21/2020, for
 failure to effect service of the summons and complaint within 90 days of the filing of the
 complaint, unless you establish that service was effected within said 90 days, by filing
 proof of service with the Clerk of the Court before the return date of this notice. If proof of
 service is not filed before the return date, counsel of record or unrepresented parties may
 be required to appear before the Court, to show good cause why this action should not be
 dismissed.




                                                 Very truly yours,
                                                 William T. Walsh, Clerk
                                                 By Deputy Clerk, lm




If applicable, counsel of record is directed to serve this notice to their client, whose street
and post office address do not appear in the complaint as directed by Local Civil Rule 10.1,
and to provide proof of service to the Court.
